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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY

SCOTT HOWE,                   )
                              )
       Plaintiff,             )
                              )
vs.                           )      Case No.: 3:17-cv-00770-DJH-DW
                              )
EQUIFAX INFORMATION SERVICES )
LLC, et al.,                  )
                              )
       Defendant.             )
                            ** ** ** **
                                   NOTICE OF SETTLEMENT

        Comes the Plaintiff, Scott Howe, and hereby notifies the Court that Plaintiff has settled his

claims against Defendant, Trans Union, LLC subject to execution of a final settlement agreement

and release.

                                              Respectfully submitted,

                                              /s/David W. Hemminger
                                              David W. Hemminger
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                                              Counsel for Plaintiff

                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of March, 2018 I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
filing to all parties of record.

                                              /s/David W. Hemminger
                                              David W. Hemminger
